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   8                        UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
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  11    DAVID NEWMAN,                            Case No. 2:18-cv-02348 JWH (MAA)
  12                       Petitioner,           ORDER ACCEPTING REPORT
  13          v.                                 AND RECOMMENDATION OF
                                                 UNITED STATES MAGISTRATE
  14    FELICIA PONCE, Warden,                   JUDGE
  15                       Respondent.
  16
  17         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, the other
  18   records on file herein, and the Report and Recommendation of the United States
  19   Magistrate Judge.
  20         The time for filing objections has expired, and no objections have been made.
  21         IT THEREFORE IS ORDERED that (1) the Report and Recommendation of
  22   the Magistrate Judge is accepted; and (2) Judgment shall be entered denying the
  23   Second Amended Petition and dismissing this action with prejudice.
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  25   DATED: November 5, 2020
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  27                                         JOHN
                                               HN W. HOLCOMB
                                             JOH
                                             UNITED STATES DISTRICT JUDGE
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